 

Case PEON TESALNOSER ECF No. 17-4, PagelD.201 cy 10/02/14 Page 1 of 12

STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE
PEOPLE OF THE STATE OF MICHIGAN
Lower Court No. 08-6961-01
Plaintiff-Appellee
v Honorable Timothy M. Kenny

JAMES ANDREW POWELL

Defendant-Appellant.

 

WAYNE COUNTY PROSECUTOR
Attorney for Plaintiff-Appeliee

 

LEE A. SOMERVILLE (P-41168)
Attorney for Defendant-Appellant

 

 

PRAECIPE with PROOF OF SERVICE thereon
NOTICE OF HEARING

MOTION TO WITHDRAW PLEA

LEE A. SOMERVILLE (P-41168)
P.O. Box 40250

Redford, Michigan 48240-0250
313-387-0323

 
 

Case EE NOISES ECF No. 17-4, PagelD.202 cy 10/02/14 Page 2 of 12

 

 

 

STATE OF MICHIGAN PRAECIPE CASE NO.
Third Judicial Circuit Court FOR
Wayne County MOTION 08-6961 -01

 

THE PEOPLE OF THE STATE OF MICHIGAN

-VS-

James Andrew Poweil

Defendant

TO THE ASSIGNMENT CLERK:

Please place a Motion for (here state nature of motion in brief form)

MOTION TO WITHDRAW PLEA

 

on the Motion Docket for March 27, 2009 before Judge Hon. Timothy M. Kenny

Date: 2-19 ,20 08

Lee A. Somerville {P-41168)
Attorney for Defendant Michigan State Bar #

P.O. Box 40250, Redford, M! 48240-0250
Address

313-387-0323

Telephone

NOTE: UNDER MCR 2107(c)(1) or (2)

PROOF OF SERVICE
(7 Days notice required)

| swear that on 2-19-2009 | served a copy of the attached.mation and praecipe upon the

Wayne County Prosecutor, Third Judicial Circuit Court, Criminal Division Section by-(rat! personal) service. (Cross out one}
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Sworn and subscribed before me Uy Ke I
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on: LO De. A
i Attgéney tor Defendant

Notary Public

7 day Notice Waived
County

 

Date

 

 

My Commission Expires

Prosecuting Official Michigan State Bar #

PRAECIPE FOR MOTION
Form #1

 

 
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STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE

PEOPLE OF THE STATE OF MICHIGAN

Lower Court No. 08-6961 -01
Plaintiff-Appetiee

Honorable Timothy M. Kenny
-VS-
JAMES ANDREW POWELL

Defendant-Appellant.
/

NOTICE OF HEARING
TO:
WAYNE COUNTY PROSECUTOR

1441 St. Antoine
Detroit, Michigan 48226

PLEASE TAKE NOTICE that on March 27, 2009 at 9:00 a.m., or as soon

thereafter as counsel may be heard, the undersigned will move this Honorable Court to
grant the within

MOTION TO WITHDRAW PLEA

Respectfully submitted,

 

 

tee A. SOMERVILLE (P-41168)
O. Box 40250

Redford, Michigan 48240-0250
313-387-0323

Date: February 18, 2009

 
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STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE

PEOPLE OF THE STATE OF MICHIGAN

Lower Court No. 08-6961-01
Plaintiff-Appellee

Honorable Timothy M. Kenny
-VS-

JAMES ANDREW POWELL

Defendant-Appellant.

 

/
MOTION TO WITHDRAW PLEA

NOW COMES Defendant JAMES ANDREW POWELL, by and through his attorney,
Lee A. Somerville, and moves this Honorable Court to grant the within Motion to Withdraw
Plea in this case and says in support thereof that:

1. This motion is brought pursuant to MCR 6.310(A), which allows a post-
judgment motion to withdraw a plea, to be filed in a criminal case within six months of the
sentence.

2. Defendant pled guilty to Second Degree Murder, MCLA 750.317; 2 Counts
of FA, MCLA 750.82; FIP, MCLA 750.224f; FF, MCLA 750.227b on July 30, 2008 before
the Honorable Timothy M. Kenny in the Wayne County Circuit Court, pursuant to a plea
and sentencing agreement. (T 7-30-2008, p 3-10.)

3. On August’20, 2008, Befendant was sentenced to 25 to 40 years, 2 to 4

 

years (on 2 counts); 2 to 5 years, all consecutive to 2 years, credit for 140 days. (T 8-20-

2008, p 20-21.)

 
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4, Counsel was appointed to perfect an appeal and/or pursue post-conviction

remedies on September 30, 2008.
5. An Application for Leave to Appeal has not yet been filed.

6. Defendant-Appeliant asserts that he should be allowed to withdraw his piea

for several reasons:

A.

7. There

accepted it. People v Davidovich, 238 Mich App 422, 425, 606 NW 2d 387 (1999); People
v Kennebrew, 220 Mich App 601, 605; 560 NWed 354 (1996). A trial court possesses
discretion over whether to grant a defendant's motion to withdraw a plea, and the trial
court's decision will only be reviewed for an abuse of that discretion. People v Wilhite, 240
Mich App 587, 593-594; 618 NW2d 386 (2000).

8. Procedurally, where a defendant files a motion claiming that his plea was
induced by his attorney's faulty advice and a proffer of proof is made on the record, the
defendant is entitled to an evidentiary hearing. Where a defendant claims the plea was

induced by inaccurate legal advice or he can show ineffective assistance of counsel, the

He asserts that he was denied effective assistance of counsel in that
his counse! never sought an evaluation for competency and criminal 5!
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responsibility; niet Latha fe bast Qs! '
He asserts that he is actually innocent of the charges Murder and Ae

iW #p
Assault charges, as he has a valid defense of self defense, as well as nd

insanity; and p

He asserts that he was denied effective assistance of counsel’ in trot. PE 1 iy)
his counsel never contacted his witnesses or prepared for trial. unr

is no absolute right to withdraw a guilty plea once the trial court has

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Court should strongly consider granting the motion to withdraw plea. People v Jackson,
203 Mich App 607, 642; 513 NW2d 206 (1994).

9. Where a defendant claims innocence and/or a valid defense to the charge
he has plead to, the Court should strongly consider granting the motion to withdraw plea.
See Wilhite, supra; People v. Thew, 201 Mich App 78, 96; 506 NW2d 547 (1993); People
v Spencer, 192 Mich App 146, 151-152, 480 NW2d 308 (1991).

Ineffective Assistance of Counsel Due to Failure to Request
Competency and Criminal Responsibility Evaluations

10. Defendant-Appellant James Andrew Powell asserts that he received
ineffective assistance of counsel when his counsel did not discuss his mental health history
with him, or request the appropriate referrals for evaluations for competency or criminal
responsibility.

11. Appellant counsel only discovered Respondent-Appellant's mental health
history in reviewing his PSR with him during a prison visit on February 6, 2009, when
counsel noted in passing that according to the PSR, Mr. Powell had no mental health
history.

12. Defendant-Appellant informed counsel that he had been previously referred
for a psychiatric evaluation, and was on two psychotropic medications while in the Wayne
County Jail, pending resolution of the instant case. He has been prescribed a different
psychotropic medication since he has been in MDOC.

13. Defendant-Appellant James Andrew Powell asserts that he has a valid
insanity defense to the all crimes charged herein. MCLA 728.21a.

14. Trial counsel in the present case did not inquire as to his mental health, much

 
 

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less file a Notice of Insanity Defense, although Defendant-Appellant told counsel he was
on medications. (See Exhibit A, Affidavit of Defendant-Appeliant.} .

15. MCR 6.125 provides that the defendant's competency to stand trial or to
participate in other criminal proceedings may be raised at any time during the proceedings
against the defendant. MCR 6.125(B).

16. MCR6.125 further provides that a mere “showing” that the defendant may
be incompetent requires that the court “order the defendant to undergo an examination by
a certified or licensed examiner of the center for forensic psychiatry, or other facility... .”
MCR 6.125(C)(1).

17. Defendant-Appellant asserts that such a showing has been made herein, and
could have been made by trial counsel had he done a proper investigation of the case.

18. The issue of ineffective assistance of counsel may be reviewed without an
evidentiary hearing. People v Cicotte, 133 Mich App 630; 349 NWed 167 (1984); People
v Johnson, 124 Mich App 80, 88; 333 NW2d 585, lv den, 419 Mich 851 (1983), People v
Davis, 102 Mich App 403, 410-411; 301 NW2d 871 (1980). If this Court believes that an
additional record is required, a hearing should be held pursuant to People v Ginther, 390
Mich 436, 442; 212 NW2d 922 (1973).

19. Defendant-Appellant further requests that he be allowed to withdraw his plea,
and be referred for an evaluation as to criminal responsibility, and for competency to stand
trial, enter a plea, or to assist counsel with his appeal.

Defendant-Appellant Has a Valid Defense to All Charges

20. Defendant-Appellant James Andrew Powell asserts that he has a valid

 
 

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defense to all charges.

21.  Defendant-Appellant James Andrew Powell asserts that he has a valid
insanity defense, as set forth more fully in the section above, and incorporated herein by
reference. MCLA 728.21a.

22. Further, Defendant-Appellant asserts that he has a valid defense of self
defense in the present case, however his trial counsel did not subpoena the witnesses
needed to support his defense.

23. In People v Thew, 210 Mich App 78, 96; 506 NWed 547 (1993), the Court
pointed out that a claim of actual innocence is not required to support plea withdrawal, it
is enough if the only defense is that the defendant is guilty of a !esser included offense:
the issue is not whether the trial court believes him but whether defendant

has a valid defense to the charge of felony murder, even if he might be guilty

of other offenses, such as second-degree murder and first-degree criminal
sexual conduct.

24. Defendant-Appellant asserts that he was not the aggressor in the present

case, and was forced to act in self defense.

Ineffective Assistance of Counsel Due to Failure to Investigate
and Subpoena Witnesses

25. Defendant-Appellant James Andrew Powell asserts that he was entitled to
effective assistance of counsel at his plea proceeding. The right to counsel extends io
guilty plea proceedings. Moore v Michigan, 355 US 155; 78SCt 191; 2 LEd2d 167 (1957);

US Const, Am Vi and Am XIV; Const 1963, art 1, sec 20.

26. In People v Grant, 470 Mich 477; 684 NW2d 686 (2004), the Court affirmed
Defendant’s burden of establishing prejudice in an ineffective assistance of counsel claim:

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To establish prejudice, he must show a reasonable probability that the
outcome would have been different but for counsel's errors. ... A
reasonable probability need not rise to the level of making it more likely than
not that the outcome would have been different. ... “The result of a
proceeding can be rendered unreliable, and hence the proceeding itself
unfair, even if the errors of counsel cannot be shown by a preponderance of
the evidence to have determined the outcome."

People v Grant, supra, 470 Mich at 486, cites omitted, citing People v Pickens, 446 Mich

298, 338; 521 NW2d 797 (1994); and Strickland v Washington, 466 US 668, 693, 694; 104
SCt 2052; 80 LEd2d 674 (1984).

27. Defendant-Appellant asserts that he asked his counsel to subpoena

witnesses on his behalf, but his counsel did not even contact the witnesses. (See Exhibit

A, Affidavit of Defendant-Appeliant.)

28. Defendant-Appeilant asserts that he did not want to enter a plea, and would
not have entered the plea, but for counsel’s representation, therefore the outcome would
nave been different, he would have exercised his constitutional right to a trial by a jury of

his peers. US Const, Am VI and Am XIV; Const 1963, art 1, sec 20.

29. Defendant-Appeilant James Andrew Powell asserts that the representation
of counsel rendered his plea neither understanding, nor voluntary, as he would not have

entered the plea to crimes to which he asserts he has a valid defense of self defense.

MCR 6.302(B) and (C).

30. Thisissue maybe reviewed without an evidentiary hearing. People v Cicotte,
supra; People v Johnson, supra; People v Davis, supra. lf this Court believes that an

additional record is required, a hearing should be held pursuant to People v Ginther, supra.

 
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WHEREFORE, Defendant respectfully requests that this Honorable Court grant the

within Motion to Withdraw Plea.

Respectfully submitted,

Wee A. Somerville (P-41168)
P.O. Box 40250
Redford, Michigan 48240-0250
313-387-0323

   

Date: February 18, 2009

 
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STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE

PEOPLE OF THE STATE OF MICHIGAN

Plaintiff-Appellee Lower Court No. 08-6961 -01
Vv

Honorable Timothy M. Kenny
JAMES ANDREW POWELL

Defendant-Appellant.

WAYNE COUNTY PROSECUTOR
Attorney for Plaintiff-Appellee

 

LEE A. SOMERVILLE (P-41168)
Attorney for Defendant-Appeliant

 

AFFIDAVIT OF DEFENDANT-APPELLANT

STATE OF MICHIGAN)

) ss.
COUNTY OF IONIA )

|, JAMES ANDREW POWELL, being first duly sworn, state:

1. That | am the defendant in Wayne County Circuit Court case number 08-
6961-01.

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2. That | ctr not S?! Hey of Nhe. Am Med fe con A Ip

3. That at he ~bme- oF my ple ! DAR Ez
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FURTHER DEPONENT SAYETH NOT. of

JAMES ANDREW POWELL

Subscribed and sworn to before me this 6" day of February, 2009.
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(Der
‘ee Somerville, Notary Public, Wayne County,
acting in lonia County, Michigan
My commission expires: 9-29-2015

 
